       Case 3:18-cv-00772-SDD-EWD Document 31             09/13/18 Page 1 of 55




LH901-038122805-0001

                                              UNITED STATES DISTRICT COURT

                                              MIDDLE DISTRICT OF LOUISIANA


STEPHEN M. GRUVER                              *   CIVIL ACTION: NO: 3:18-CV-00772
AND RAE ANN GRUVER, individually               *
and on behalf of MAXWELL R.                    *   JUDGE: ______________
GRUVER, deceased,                              *
PLAINTIFFS                                     *   MAGISTRATE: _______________
                                               *
VERSUS                                         *
                                               *
STATE OF LOUISIANA THROUGH THE                 *
BOARD OF SUPERVISORS OF LOUISIANA *
STATE UNIVERSITY AND AGRICULTURAL *
AND MECHANICAL COLLEGE; PHI DELTA *
THETA FRATERNITY, an Ohio Non-Profit           *
Corporation; LOUISIANA BETA CHAPTER            *
OF PHI DELTA THETA FRATERNITY, an              *
unincorporated association; LOUISIANA BETA *
HOUSE CORPORATION, a Louisiana                 *
Non-Profit Corporation; MATTHEW A.             *
NAQUIN, individually and an agent of Phi Delta *
Theta Fraternity and Louisiana Beta Chapter of *
Phi Delta Theta Fraternity; RYAN M. ISTO,      *
individually and an agent of Phi Delta Theta   *
Fraternity and Louisiana Beta Chapter of Phi   *
Delta Theta Fraternity; SEAN PAUL GOTT,        *
individually and an agent of Phi Delta Theta   *
Fraternity and Louisiana Beta Chapter of Phi   *
Delta Theta Fraternity; ZACHARY A.             *
CASTILLO, individually and an agent of Phi     *
Delta Theta Fraternity and Louisiana Beta      *
Chapter of Phi Delta Theta Fraternity; ELLIOTT *
D. EATON, individually and an agent of Phi     *
Delta Theta Fraternity and Louisiana Beta      *
Chapter of Phi Delta Theta Fraternity; PATRICK *
A. FORDE, individually and an agent of Phi     *
Delta Theta Fraternity and Louisiana Beta      *
           Case 3:18-cv-00772-SDD-EWD Document 31                  09/13/18 Page 2 of 55




Chapter of Phi Delta Theta Fraternity;        *
ZACHARYT. HALL, individually and an agent     *
of Phi Delta Theta Fraternity and Louisiana Beta
                                              *
Chapter of Phi Delta Theta Fraternity; HUDSON *
B. KIRKPATRICK, individually and an agent of  *
Phi Delta Theta Fraternity and Louisiana Beta *
Chapter of Phi Delta Theta Fraternity; JOHN   *
DOES 1-10, individually and an agent of Phi   *
Delta Theta Fraternity and Louisiana Beta     *
Chapter of Phi Delta Theta Fraternity         *
                                              *
                                              *
***************************************************************

                                                 ANSWER

        NOW INTO COURT, through undersigned counsel, comes Defendant, PATRICK A.

FORDE, who, in answer to Plaintiffs’ Petition for Damages denies each and every allegation

contained therein except such as may be hereinafter specially admitted.

        Further answering the specifically numbered paragraphs of the Petition, Defendant pleads as

follows:

                                COMPLAINT AND JURY DEMAND

        The allegations of this unnumbered Paragraph are denied for lack of sufficient information

to justify a belief as to the truth therein.

                                               INTRODUCTION

                                                    1.

        The allegations of Paragraph 1 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                    2.
         Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 3 of 55




        The allegations of Paragraph 2 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                   3.

        The allegations of Paragraph 3 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                   4.

        The allegations of Paragraph 4 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                   5.

        The allegations of Paragraph 5 are denied for lack of sufficient information to justify a belief

as to the truth therein. Defendant further demands strict proof thereof.

                                                   6.

        The allegations of Paragraph 6 are denied for lack of sufficient information to justify a belief

as to the truth therein. Defendant further demands strict proof thereof.

                                                   7.

        The allegations of Paragraph 7 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                   8.

        The allegations of Paragraph 8 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                   9.
         Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 4 of 55




        The allegations of Paragraph 9 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                  10.

        The allegations of Paragraph 10 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  11.

        The allegations of Paragraph 11 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  12.

        The allegations of Paragraph 12 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  13.

        The allegations of Paragraph 13 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  14.

        The allegations of Paragraph 14 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  15.

        The allegations of Paragraph 15 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  16.
         Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 5 of 55




        The allegations of Paragraph 16 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 17.

        The allegations of Paragraph 17 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 18.

        The allegations of Paragraph 19 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 19.

        The allegations of Paragraph 19 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 20.

        The allegations of Paragraph 20 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 21.

        The allegations of Paragraph 21 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 22.

        The allegations of Paragraph 22 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                             PARTIES
         Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 6 of 55




                                                  23.

        The allegations of Paragraph 23 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  24.

        The allegations of Paragraph 24 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  25.

        The allegations of Paragraph 25 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  26.

        The allegations of Paragraph 26 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                  27.

        Paragraph 27 contains conclusions of law that do not require a response. The remaining

allegations of Paragraph 27 are denied for lack of sufficient information to justify a belief as to the

truth therein.

                                                  28.

        The allegations of Paragraph 28 contain a conclusion of law that does not require a response.

The remaining allegations of Paragraph 28 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  29.
         Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 7 of 55




        The allegations of Paragraph 29 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 30.

        The allegations of Paragraph 30 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 31.

        The allegations of Paragraph 31 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 32.

        The allegations of Paragraph 32 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 33.

        The allegations of Paragraph 33 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 34.

        The allegations of Paragraph 34 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 35.

        The allegations of Paragraph 35 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 36.
         Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 8 of 55




        The allegations of Paragraph 36 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 37.

        Patrick A. Forde admits he is a person of the full age of majority and a resident of the State

of Louisiana. The remaining allegations of Paragraph 37 are denied and Defendant calls for strict

proof thereof.

                                                 38.

        The allegations of Paragraph 38 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 39.

        The allegations of Paragraph 39 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 40.

        The allegations of Paragraph 40 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 41.

        The allegations of Paragraph 41 do not require a response.

                                  JURISDICTION AND VENUE

                                                 42.
         Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 9 of 55




        The allegations of Paragraph 42 contain conclusions of law that do not require a response.

The remaining allegations of Paragraph 42 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                43.

        The allegations of Paragraph 43 contain conclusions of law that do not require a response.

The remaining allegations of Paragraph 43 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                44.

        The allegations of Paragraph 44 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 44 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                      FACTUAL ALLEGATIONS

                   Maxwell Gruver’s Tragically Short-Lived Attendance At LSU

                                                45.

        The allegations of Paragraph 45 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                46.

        The allegations of Paragraph 46 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                47.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 10 of 55




        The allegations of Paragraph 47 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               48.

        The allegations of Paragraph 48 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               49.

        The allegations of Paragraph 49 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               50.

        The allegations of Paragraph 50 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               51.

        The allegations of Paragraph 51 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               52.

        The allegations of Paragraph 52 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               53.

        The allegations of Paragraph 53 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               54.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 11 of 55




        The allegations of Paragraph 54 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 55.

        The allegations of Paragraph 55 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 56.

        The allegations of Paragraph 56 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 57.

        The allegations of Paragraph 57 are denied. Defendant further demands strict proof thereof.

                                                 58.

        The allegations of Paragraph 58 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 59.

        The allegations of Paragraph 59 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 60.

        The allegations of Paragraph 60 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 61.
        Case 3:18-cv-00772-SDD-EWD Document 31                  09/13/18 Page 12 of 55




        The allegations of Paragraph 61 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                62.

        The allegations of Paragraph 62 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                63.

        The allegations of Paragraph 63 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                64.

        The allegations of Paragraph 64 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                65.

        The allegations of Paragraph 65 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                66.

        The allegations of Paragraph 66 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                67.

        The allegations of Paragraph 67 are denied. Defendant further demands strict proof thereof.

                                                68.

        The allegations of Paragraph 68 are denied. Defendant further demands strict proof thereof.
           Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 13 of 55




                                                 69.

        The allegations of Paragraph 59 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 70.

        The allegations of Paragraph 70 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 71.

        The allegations of Paragraph 71 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 72.

        The allegations of Paragraph 72 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 73.

        The allegations of Paragraph 73 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 74.

        The allegations in all parts of Paragraph 74 are denied. Defendant further demands strict

proof thereof.

                                                 (a.)

        The allegations of Paragraph 74(a.) are denied. Defendant further demands strict proof

thereof.
           Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 14 of 55




                                                 (b.)

       The allegations of Paragraph 74(b.) are denied. Defendant further demands strict proof

thereof.

                                                 (c.)

       The allegations of Paragraph 74(c.) are denied. Defendant further demands strict proof

thereof.

                                                 (d.)

       The allegations of Paragraph 74(d.) are denied. Defendant further demands strict proof

thereof.

                                                 (e.)

       The allegations of Paragraph 74(e.) are denied. Defendant further demands strict proof

thereof.

                                                 75.

       The allegations of Paragraph 75 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 76.

       The allegations of Paragraph 76 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 77.

       The allegations of Paragraph 77 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 15 of 55




                                                 78.

        The allegations of Paragraph 78 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 79.

        The allegations of Paragraph 79 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 80.

        The allegations of Paragraph 80 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 81.

        The allegations of Paragraph 81 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 82.

        The allegations of Paragraph 82 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 83.

        The allegations of Paragraph 83 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 84.

        The allegations of Paragraph 84 are denied. Defendant further demands strict proof thereof.

                                                 85.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 16 of 55




        The allegations of Paragraph 85 are denied. Defendant further demands strict proof thereof.

                                                 86.

        The allegations of Paragraph 86 are denied. Defendant further demands strict proof thereof.

                                                 87.

        The allegations of Paragraph 87 are denied. Defendant further demands strict proof thereof.

                                                 88.

        The allegations of Paragraph 88 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                         LSU’s Partnership with and Control Of Greek Life

                                                 89.

        The allegations of Paragraph 89 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 90.

        The allegations of Paragraph 90 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 91.

        The allegations of Paragraph 91 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 92.

        The allegations of Paragraph 92 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 17 of 55




                                                 93.

        The allegations of Paragraph 93 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 94.

        The allegations of Paragraph 94 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 95.

        The allegations of Paragraph 95 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 96.

        The allegations of Paragraph 96 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 97.

        The allegations in all parts of Paragraph 97 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 97(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 97(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 18 of 55




                                                 (c.)

        The allegations of Paragraph 97(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)

        The allegations of Paragraph 97(d.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (e.)

        The allegations of Paragraph 97(e.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 98.

        The allegations of Paragraph 98 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 99.

        The allegations of Paragraph 99 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                100.

        The allegations of Paragraph 100 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                101.

        The allegations of Paragraph 101 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 19 of 55




                                               102.

        The allegations of Paragraph 102 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               103.

        The allegations of Paragraph 103 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               104.

        The allegations of Paragraph 104 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               105.

        The allegations of Paragraph 105 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               106.

        The allegations of Paragraph 106 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               107.

        The allegations of Paragraph 107 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               108.

        The allegations of Paragraph 108 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 20 of 55




                                               109.

        The allegations of Paragraph 109 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               110.

        The allegations of Paragraph 110 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               111.

        The allegations of Paragraph 111 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               112.

        The allegations of Paragraph 112 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               113.

        The allegations of Paragraph 113 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               114.

        The allegations of Paragraph 114 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               115.

        The allegations of Paragraph 115 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 21 of 55




                                               116.

        The allegations of Paragraph 116 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               117.

        The allegations of Paragraph 117 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               118.

        The allegations of Paragraph 118 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                  Known, Pervasive Risks and Culture of Hazing in Fraternities

                                               119.

        The allegations of Paragraph 119 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               120.

        The allegations of Paragraph 120 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               121.

        The allegations of Paragraph 121 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               122.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 22 of 55




        The allegations of Paragraph 122 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 123.

        The allegations of Paragraph 123 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 124.

        The allegations of Paragraph 124 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 124(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 124(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 124(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

       Known, Pervasive, and Disregarded Risks to Male Students at LSU Fraternities

                                                 125.

        The allegations of Paragraph 125 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 23 of 55




                                                 126.

        The allegations of Paragraph 126 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 127.

        The allegations of Paragraph 127 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 128.

        The allegations in all parts of Paragraph 128 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 128(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 128(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 128(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)

        The allegations of Paragraph 128(d.) are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 24 of 55




                                                 (e.)

        The allegations of Paragraph 128(e.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (f.)

        The allegations of Paragraph 128(f.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (g.)

        The allegations of Paragraph 128(g.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (h.)

        The allegations of Paragraph 128(h.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (i.)

        The allegations of Paragraph 128(i.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (j.)

        The allegations of Paragraph 128(j.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (k.)

        The allegations of Paragraph 128(k.) are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 25 of 55




                                                  (l.)

        The allegations of Paragraph 128(l.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (m.)

        The allegations of Paragraph 128(m.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (n.)

        The allegations of Paragraph 128(n.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (o.)

        The allegations of Paragraph 128(o.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (p.)

        The allegations of Paragraph 128(p.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (q.)

        The allegations of Paragraph 128(q.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (r.)

        The allegations of Paragraph 128(r.) are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 26 of 55




                                               129.

        The allegations of Paragraph 129 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               130.

        The allegations of Paragraph 130 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               131.

        The allegations of Paragraph 131 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               132.

        The allegations of Paragraph 132 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               133.

        The allegations of Paragraph 133 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               134.

        The allegations of Paragraph 134 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               135.

        The allegations of Paragraph 135 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 27 of 55




                                               136.

        The allegations of Paragraph 136 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               137.

        The allegations of Paragraph 137 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               138.

        The allegations of Paragraph 138 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               139.

        The allegations of Paragraph 139 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               140.

        The allegations of Paragraph 140 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               141.

        The allegations of Paragraph 141 are denied for lack of sufficient information to justify a

belief as to the truth therein.

      Known, Pervasive, and Disregarded Risks and Culture of Hazing in Phi Delt (sic)

                                               142.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 28 of 55




        The allegations of Paragraph 142 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 143.

        The allegations of Paragraph 143 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 144.

        The allegations of Paragraph 144 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 145.

        The allegations of Paragraph 145 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 146.

        The allegations of Paragraph 146 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 147.

        The allegations in all parts of Paragraph 147 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 147(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 29 of 55




        The allegations of Paragraph 147(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 147(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)

        The allegations of Paragraph 147(d.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (e.)

        The allegations of Paragraph 147(e.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

Phi Delt and Lsu Each Empower and Permit Undergraduate Males to Control the Initiation

                            and Membership Processes at Phi Delt (sic)

                                                 148.

        The allegations of Paragraph 148 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 149.

        The allegations of Paragraph 149 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 150.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 30 of 55




        The allegations of Paragraph 150 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 151.

        The allegations of Paragraph 151 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 152.

        The allegations of Paragraph 152 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 153.

        The allegations of Paragraph 153 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 154.

        The allegations of Paragraph 154 are denied for lack of sufficient information to justify a

belief as to the truth therein.

       Hazing and Misconduct at Louisiana Beta in the Years Prior to The Fall of 2017

                                                 155.

        The allegations of Paragraph 155 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 156.

        The allegations of Paragraph 156 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 31 of 55




                                                157.

        The allegations of Paragraph 157 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                158.

        The allegations of Paragraph 158 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                159.

        The allegations of Paragraph 159 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                160.

        The allegations of Paragraph 160 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                161.

        The allegations of Paragraph 161 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                162.

        The allegations of Paragraph 162 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                163.

        The allegations in all parts of Paragraph 163 are denied for lack of sufficient information to

justify a belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 32 of 55




                                                 (a.)

        The allegations of Paragraph 163(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 163(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 163(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 164.

        The allegations of Paragraph 164 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 165.

        The allegations of Paragraph 165 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 166.

        The allegations of Paragraph 166 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 167.

        The allegations of Paragraph 167 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 33 of 55




                                               168.

        The allegations of Paragraph 168 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               169.

        The allegations of Paragraph 169 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               170.

        The allegations of Paragraph 170 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               171.

        The allegations of Paragraph 171 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               172.

        The allegations of Paragraph 172 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               173.

        The allegations of Paragraph 173 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               174.

        The allegations of Paragraph 174 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 34 of 55




                                               175.

        The allegations of Paragraph 175 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               176.

        The allegations of Paragraph 176 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               177.

        The allegations of Paragraph 177 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               178.

        The allegations of Paragraph 178 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               179.

        The allegations of Paragraph 179 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               180.

        The allegations of Paragraph 180 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               181.

        The allegations of Paragraph 181 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 35 of 55




                                               182.

        The allegations of Paragraph 182 are denied for lack of sufficient information to justify a

belief as to the truth therein.

 The Beta House Corporation Knew or Should Have Known Pledges Would Be Hazed and

  Compelled to Consume Alcohol at the Phi Delt Fraternity House in The Fall of 2017 (sic)

                                               183.

        The allegations of Paragraph 183 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               184.

        The allegations of Paragraph 184 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               185.

        The allegations of Paragraph 185 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               186.

        The allegations of Paragraph 186 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               187.

        The allegations of Paragraph 187 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               188.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 36 of 55




        The allegations of Paragraph 188 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 189.

        The allegations of Paragraph 189 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 190.

        The allegations of Paragraph 190 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 191.

        The allegations of Paragraph 191 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                              COUNT I

                            Violation of Title IX, 20 U.S.C. § 1681, et seq.

                                         (Defendant Board)

                                                 192.

        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 192 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                 193.

        The allegations of Paragraph 193 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 37 of 55




                                               194.

        The allegations of Paragraph 194 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               195.

        The allegations of Paragraph 195 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               196.

        The allegations of Paragraph 196 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               197.

        The allegations of Paragraph 197 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               198.

        The allegations of Paragraph 198 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               199.

        The allegations of Paragraph 199 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               200.

        The allegations of Paragraph 200 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 38 of 55




                                               201.

        The allegations of Paragraph 201 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               202.

        The allegations of Paragraph 202 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               203.

        The allegations of Paragraph 203 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               204.

        The allegations of Paragraph 204 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               205.

        The allegations of Paragraph 205 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               206.

        The allegations of Paragraph 206 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               207.

        The allegations of Paragraph 207 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 39 of 55




                                                  208.

        The allegations of Paragraph 208 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  209.

        The allegations of Paragraph 209 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  210.

        The allegations of Paragraph 210 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  211.

        The allegations of Paragraph 211 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                              COUNT II

                                      Survival and Wrongful Death

                                  Negligence Under Louisiana State Law

                                           (Defendant Board)

                                                  212.

        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 212 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                  213.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 40 of 55




        The allegations of Paragraph 213 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 214.

        The allegations in all parts of Paragraph 214 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (e.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (f.)
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 41 of 55




        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (g.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (h.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (i.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (j.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (k.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (l.)

        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (m.)
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 42 of 55




        The allegations of Paragraph 214(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  215.

        Denied, to the extent that Paragraph 2015 contemplates punitive damages, as punitive

damages do not apply to this proceeding and this cause of action. The remaining allegations of

Paragraph 215 are denied for lack of sufficient information to justify a belief as to the truth therein.

Defendant further demands strict proof thereof.

                                              COUNT III

                                      Survival and Wrongful Death

                                  Negligence Under Louisiana State Law

                     (Defendant Phi Delt and Defendant Louisiana Beta)(sic)

                                                  216.

        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 216 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                  217.

        The allegations of Paragraph 217 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                  218.

        The allegations of Paragraph 218 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 43 of 55




                                                 219.

        The allegations of Paragraph 219 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 220.

        The allegations of Paragraph 220 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 221.

        The allegations of Paragraph 221 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 222.

        The allegations of Paragraph 222 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 222 are denied for lack of sufficient information

to justify a belief as to the truth therein.

                                                 223.

        The allegations of Paragraph 223 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 223 are denied for lack of sufficient information

to justify a belief as to the truth therein.

                                                 224.

        The allegations of Paragraph 224 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 224 are denied for lack of sufficient information

to justify a belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 44 of 55




                                                 225.

        The allegations of Paragraph 225 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                 226.

        The allegations of Paragraph 226 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 226 are denied for lack of sufficient information

to justify a belief as to the truth therein.

                                                 227.

        The allegations in all parts of Paragraph 227 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 227(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 227(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 227(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 45 of 55




        The allegations of Paragraph 227(d.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (e.)

        The allegations of Paragraph 227(e.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (f.)

        The allegations of Paragraph 227(f.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (g.)

        The allegations of Paragraph 227(g.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (h.)

        The allegations of Paragraph 227(h.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (i.)

        The allegations of Paragraph 227(i.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (j.)

        The allegations of Paragraph 227(j.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (k.)
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 46 of 55




        The allegations of Paragraph 227(k.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  228.

        The allegations of Paragraph 228 are denied for lack of sufficient information to justify a

belief as to the truth therein. Defendant further demands strict proof thereof.

                                                  229.

        The allegations of Paragraph 229 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                              COUNT IV

                                      Survival and Wrongful Death

                                  Negligence Under Louisiana State Law

                                  (Defendant Beta House Corporation)

                                                  230.

        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 230 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                  231.

        The allegations of Paragraph 231 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  232.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 47 of 55




        The allegations of Paragraph 232 contains a conclusion of law that does not require a

response. The remaining allegations of Paragraph 232 are denied for lack of sufficient information

to justify a belief as to the truth therein.

                                                 233.

        The allegations in all parts of Paragraph 233 are denied for lack of sufficient information to

justify a belief as to the truth therein.

                                                 (a.)

        The allegations of Paragraph 233(a.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (b.)

        The allegations of Paragraph 233(b.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (c.)

        The allegations of Paragraph 233(c.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (d.)

        The allegations of Paragraph 233(d.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (e.)

        The allegations of Paragraph 233(e.) are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 48 of 55




                                                  (f.)

        The allegations of Paragraph 233(f.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (g.)

        The allegations of Paragraph 233(g.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 (h.)

        The allegations of Paragraph 233(h.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (i.)

        The allegations of Paragraph 233(i.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                  (j.)

        The allegations of Paragraph 233(j.) are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 234.



                                             COUNT V

                                   Survival and Wrongful Death

   Negligence/Breach of Assumed Duties/Failure to Rescue Under Louisiana State Law

      (Individual Defendants, Defendant Phi Delt, and Defendant Louisiana Beta)(sic)
           Case 3:18-cv-00772-SDD-EWD Document 31                 09/13/18 Page 49 of 55




                                                 235.

        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 235 are denied for lack of sufficient information to justify a belief

as to the truth therein. Defendant further demands strict proof thereof.

                                                 236.

        The allegations of Paragraph 236 are denied. Defendant further demands strict proof

thereof.

                                                 237.

        The allegations of Paragraph 237 are denied. Defendant further demands strict proof

thereof.

                                                 238.

        The allegations of Paragraph 238 are denied. Defendant further demands strict proof

thereof.

                                                 239.

        The allegations of Paragraph 239 are denied. Defendant further demands strict proof

thereof.

                                                 240.

        The allegations in all parts of Paragraph 240 are denied. Defendant further demands strict

proof thereof.

                                                  (a.)
           Case 3:18-cv-00772-SDD-EWD Document 31           09/13/18 Page 50 of 55




       The allegations of Paragraph 240(a.) are denied. Defendant further demands strict proof

thereof.

                                             (b.)

       The allegations of Paragraph 240(b.) are denied. Defendant further demands strict proof

thereof.

                                             (c.)

       The allegations of Paragraph 240(c.) are denied. Defendant further demands strict proof

thereof.

                                             (d.)

       The allegations of Paragraph 240(d.) are denied. Defendant further demands strict proof

thereof.

                                             (e.)

       The allegations of Paragraph 240(e.) are denied. Defendant further demands strict proof

thereof.

                                             (f.)

       The allegations of Paragraph 240(f.) are denied. Defendant further demands strict proof

thereof.

                                             (g.)

       The allegations of Paragraph 240(g.) are denied. Defendant further demands strict proof

thereof.

                                             (h.)
           Case 3:18-cv-00772-SDD-EWD Document 31              09/13/18 Page 51 of 55




        The allegations of Paragraph 240(h.) are denied. Defendant further demands strict proof

thereof.

                                                (i.)

        The allegations of Paragraph 240(i.) are denied. Defendant further demands strict proof

thereof.

                                               241.

        The allegations of Paragraph 241 contain a conclusion of law that does not require a

response. The remaining allegations of Paragraph 241 are denied as written. Defendant further

demands strict proof thereof.

                                               242.

        The allegations of Paragraph 242 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                               243.

        The allegations of Paragraph 243 are denied. Defendant further demands strict proof

thereof.

                                           COUNT VI

                                   Survival and Wrongful Death

                              Premises Liability Under Louisiana Law

               (Defendant Beta House Corporation and Defendant Phi Delt)(sic)

                                               244.
        Case 3:18-cv-00772-SDD-EWD Document 31                    09/13/18 Page 52 of 55




        Defendant reiterates its answers and defenses as set forth in the preceding Paragraphs. The

remaining allegations of Paragraph 244 are denied for lack of sufficient information to justify a belief

as to the truth therein.

                                                 245.

        The allegations of Paragraph 245 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 246.

        The allegations of Paragraph 246 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 247.

        The allegations of Paragraph 247 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 248.

        The allegations of Paragraph 248 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 249.

        The allegations of Paragraph 249 are denied for lack of sufficient information to justify a

belief as to the truth therein.

                                                 250.

        The allegations of Paragraph 250 are denied for lack of sufficient information to justify a

belief as to the truth therein.
        Case 3:18-cv-00772-SDD-EWD Document 31                     09/13/18 Page 53 of 55




                                                  251.

        The allegations of Paragraph 251 are denied as written. Defendant further demands strict

proof thereof.

                                          JURY DEMAND

                                                  252.

        Defendant lack sufficient information to justify a belief as to the truth therein.

                                      PRAYER FOR RELIEF

        To the extent that the prayer contains allegations that require admission or denial, all

allegations are denied.



        AND NOW FURTHER ANSWERING;

                                                  253.

        Defendant asserts that third parties for whom Patrick Forde is not responsible were at fault

for the subject death.

                                                  254.

        Defendant asserts that the death in question was caused as the result of the exclusive

negligence of other parties or individuals for whom Patrick Forde is not responsible.

                                                  255.

        Defendant asserts that the death in question was caused or contributed to as a result of the

comparative negligence of the decedent which serves to bar or reduce any recovery herein.

                                                  256.
         Case 3:18-cv-00772-SDD-EWD Document 31                     09/13/18 Page 54 of 55




         Defendant asserts that the amount demanded contemplates punitive damages and punitive

damages do not apply to this proceeding and this cause of action. Defendant moves to strike any

claim for punitive damages against this Defendant.

                                                   257.

         Defendant lacks sufficient information at this time to assert certain additional affirmative

defenses and reserve the right to assert same if they become apparent through discovery or other

means.

                                                   258.

         Defendant asserts that the Title IX claims do not apply to Patrick Forde or Liberty Mutual

Fire Insurance Company in any way.

                                                   259.

         Defendant is entitled to and demands a jury trial on all issues herein.

         WHEREFORE, Defendant, PATRICK A. FORDE, prays that this Answer to Plaintiffs’

Petition for Damages be deemed good and sufficient, and that after due proceedings are had, that

Plaintiffs’ Petition for Damages be dismissed at Plaintiffs’ costs. Defendant further prays for trial by

jury and for all other general and equitable relief.

                                         Respectfully submitted:

                                         LAW OFFICES OF KEITH S. GIARDINA

                                         BY: /s/ Keith S. Giardina
                                         KEITH S. GIARDINA, Bar Roll #6065
                                         9100 Bluebonnet Centre Blvd., Suite 300
                                         Baton Rouge, LA 70809
                                         (225) 923-7390
                                         (603) 430-0864 (fax)
       Case 3:18-cv-00772-SDD-EWD Document 31                   09/13/18 Page 55 of 55




                                      Keith.Giardina@LibertyMutual.com
                                      Counsel for Defendant, Patrick A. Forde


                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2018, a copy of the foregoing was filed electronically
with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel by
operation of the Court's electronic filing system.

       Baton Rouge, Louisiana, this 13th day of September, 2018.

                                       /s/ Keith S. Giardina
                                       KEITH S. GIARDINA
